FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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Intersections, Inc., et al.
Plaintiff,
v.
Joseph C. Loomis, et al.,

Defendant.

 

 

 

Timothy J. McEVoy, VSB No. 33277
CAMERON MCEV@Y, PLLC

11325 Random Hills Road, Suite 200
Fairfax, Virginia 22030

(703) 460-9341 (Direct)

('703) 273-8898 (Main)

(703) 273-8897 (Facsimile)
tmcevov@cameronmcevoy.com

Counsel for Defendant
Joseph C. Loomis

 

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA

Case No. 1:O9cv597 (LMB/TCB)

DEFENDANT JOSEPH C. LOOMIS’
MEMORANDUM IN OPPOSITION TO
PLAINTIFF’S MOTION F()R SANCTIONS (DE 233)

FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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Plaintiffs once again seek to short-circuit the trial process by alleging that l\/lr. Loomis
has forfeited his right to his day in court. They ask the Court to relieve them of their burden of
proof and to simply enter a $l4,000,000 default judgment against l\/lr. Loomis that would violate
basic rules of due process. They also seek the dismissal of Mr. Loomis’ counterclaims The
Fourth Circuit and the United States Supreme Court have cautioned against the use of the
Court’s inherent powers to terminate claims or litigation and, for the reasons set forth herein, this
is not a case where the harsh sanctions sought by Plaintiffs are warranted. lndeed, once the
Court examines the facts, it will be clear that Plaintiffs are not entitled to a directed verdict or
any other sanctions

The Plaintiffs have also unfairly maligned l\/lr. Herich and Mr. LaVelle, two attorneys

. with unblemished records of professional responsibility in their home states who were merely

attempting to do their jobs within the bounds of the law and the orders of this Court and (in the
case of l\/lr. Herich) the United States Bankruptcy Court for the District of Arizona. These
attempts should be looked at not as legitimate claims of wrongdoing, but merely of Plaintiffs’
continual attempt to impugn l\/lr. Loomis and his counsel and to draw the focus away from the
merits of this case. At the end of the day, there can be no question that the law favors a trial on
the merits, and that should be allowed to occur here. The Court’s attention is, therefore, very

respectfully drawn to the matters that follow.

. A. PRELIMINARY STATEMENT l

The present motion for sanctions seeks a default judgment on the grounds that (a) l\/lr.
Loomis violated a no contact order dated October 30, 2009 (the “No Contact Order”) by having
contact with Sheilah Snyder and l\/latthew Leberer; (b) that l\/latthew LaVelle, Esq. drafted an

indemnification agreement which Plaintiffs falsely allege “provides that Loomis will indemnify

 

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Mr. Leberer if Plaintiffs sue him for breaching the Termination Agreement by not testifying for
NEI at trial”; (c) that Mr. Herich used the lndemnifrcation Agreement and the subpoena process
to coerce Mr. Leberer to provide a declaration and/or try to get Mr. Leberer to_ “disappear” as a
witness in this case; and (d) that Mr. Herich has been representing Loomis in violation of this
C_ourt’s Grder of September 3, 2010 striking his appearance in this case (the “Appearance
Order”). ` )

Before getting into the critical, actual details, it bears pointing out that Plaintiffs do not
contend that either l\/ls. Snyder or l\/lr. Leberer (the two c‘witnesses” in question) have actually
refused to come to trial. lndeed, in Plaintiffs’ counsel’s declaration filed with Plaintiffs’ l\/lotion

for Sanctions, Ms. Roth states that she is advised that l\/ls. Snyder is “planning on testifying on

v behalf of Joe Loomis at trial in this case.” See EXh. A, Declaration of l\/lelissa R. Roth, 12 (also

attached to Plaintiffs’ brief). Plaintiffs do not have a right to any particular version of testimony,
only the truth. Similarly, the assertion that Mr. Leberer will not testify is rebutted by the fact that
l\/lr. Leberer has provided multiple declaration for Plaintiffs, the most recent one having been
obtained on February l6, 20l l, months after the alleged wrongdoing that forms the basis for '
Plaintiffs’ motion. See EXh. B, Declaration of l\/latthew Leberer dated February l6, 20ll (“3d
Leberer Dec.”) (also attached to Plaintiffs’ brief).

The Court also needs to understand that l\/Ir. Loomishas listed both l\/lr. Leberer and l\/ls.

. Snyder on his witness list; that he wishes to have both of these witnesses at trial; and that he will

stipulate to entry of an order permitting either or both of them to be deposed and for such
depositions to be used at trial if they indicate that they will not appear. Accordingly, the claim
that Mr. Loomis has been involved in a plan to suppress testimony is a completely meritless

allegation that is exposed as such by the affirmative commitment to assist in any way possible to

 

FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virgim'a 22030
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preserve and present their testimony. Plaintiffs also imply that somehow l\/ls. Snyder and Mr.
Leberer have lost their independence There is utterly no support for that claim. Certainly,` this
is apparent in terms of l\/lr. Leberer as he continues to cooperate with Plaintiffs as demonstrated
by his most recent declaration. ln short, there is absolutely no prejudice that has been
demonstrated

As for l\/lr. LaVelle, the Court will learn that he is one of two partners in an AV-rated law
firm in Phoenix, Arizona, that his involvement in this matter is very limited and that he operated
in good faith at all times. lndeed, the only reason he had any contact with l\/ls. Snyder and Mr.
Leberer was precisely because Mr. Loomis was trying to stay out of harrn ’s way with respect to
any claim that he was in violation of any orders n

As for l\/lr. Herich, the Court will learn (if it does not already know) that Plaintiffs
attempted to disqualify him from the substantially related federal bankruptcy case in Arizona.
That effort was denied, and thus l\/lr. Herich has every right to do work for l\/lr. Loomis in those
related matters lndeed, this has been confirmed by none other than Geoffrey Hazard, one of the
leading experts on legal ethics in the United States and the author of one of the leading ethics
textbooks used in American law schools over the past several decades. Exh. H, three letter
opinions and CV from Geoffrey Hazard. Plaintiffs cited Professor Hazard in their brief to

disqualify Mr. Herich, a ruling with which Professor Hazard (and the bankruptcy court)

. disagreed Id.

ln short, there are two contrary rulings on Mr. Herich’s ability to practice with respect to
l\/Ir. Loomis. Yet, out of an abundance of caution and because the undersigned has no desire to
test the limits of what is permissible in this relatively novel situation, the undersigned insisted,

following the order striking Mr. Herich’s appearance, that he would not allow himself to be a

 

 

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conduit or virtual representative for Mr. Herich. l\/lr. Herich readily agreed to this arrangement
The undersigned is very comfortable that Mr. Herich has not been allowed to “practice through”
Virginia counsel.

ln short, the present motion considerably overreaches both in terms of its allegations and
i_n terms of its proposed remedy. The motion should be denied -

B. FACTS '

On October 23, 2009, Plaintiffs filed a motion for sanctions that alleged, through proffers
by counsel, that Mr. Loomis had harassed Plaintiffs’ counsel l\/ls. Dickinson (who was threatened
with arrest by Mr. Loomis’ then-counsel, Hunter, Humphries & Yavitz, PLC (“HH&Y”)) and
lntersections’ CEO l\/lichael Stanfield. The proffer alleged that several of Plaintiffs’ employees
were afraid of Mr. Loomis and that a security company had been hired to provide protection at
depositions and otherwise No evidence other than the uncorroborated assertions of Plaintiffs’
counsel was provided in support of Plaintiffs’ motion.

On October 30, 2009, this Court heard oral argument on the motion, and the argument
focused relatively exclusively on the threat to have l\/ls. Dickinson arrested by HH&Y. See Exh.
C, Transcript of October 30, 2009 Hearing (also attached to Plaintiffs’ brief). There was no
evidence taken at the hearing other than to the extent l\/ls. Dickinson’s proffer related to herself

Defendant Loomis was not provided with the opportunity to confront any of the alleged

. individuals that he had allegedly intimidated At the conclusion of the hearing the Court granted

the motion for protective order, entering what was undeniably a restraining order that is
governed by Fed. R. Civ. Pr. 65 and Fourth Circuit authorities interpreting these provisions
As is relevant here, part of the October 30, 2009 Order restrained l\/lr. Loomis and his

then-current out~of-town counsel, HH&Y, from contacting “Plaintiffs, Plaintiffs’ employees and

 

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11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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Plaintiffs’ witnesses.” Exh. D, October 30, 2009 Order (also attached to Plaintiffs’ brief).
Although neither side had submitted a witness list at the time the order was entered,. Plaintiffs
subsequently filed a list that included members of the immediate family of Mr. Loomis as well as
his broker and close personal friends As to this part of the order (the “No Contact Order”), the
Court made no findings of fact, made no conclusions of law and did not address how it might
“narrowly tailor” relief to balance l\/lr. Loomis’ First Amendment right to associate with his
family, friends and others with the need to ensure that the judicial process could proceed free of
undue influences As for the potentially dozens of unnamed persons who could have been
encompassed by the No Contact Order, including Ms. Snyder and Mr. Leberer, there was
absolutely no showingl ever, made that they desired or needed a “no contact” order. There was
not a single individualized submissi'on, and such tailoring was a critical prerequisite to any relief.
lndeed, a no contact order that does not consider individual-specific evidence not only infringes
on Mr. Loomis’ rights, but it also infringes on the First Amendment rights of association of the
persons who are “protected.” Here, in particular, both Ms. Snyder and l\/lr. Leberer have
indicated in sworn declarations filed herewith that they are not now, and never were, afraid of
l\/lr. Loomis or in need of a protective order as of GCtober 30, 2009. See Exh. E, Declaration of
Sheilah Snyder (“Snyder Dec.”), 15; Exh. F., Declaration of l\/latthew Leberer dated November

l2, 2010 (“2d Leberer Dec.”). lndeed, the three of them had known one another for years and

. had enjoyed warm relationships throughout that time.l

As noted, the No Contact Order was very broadly worded lt was to apply to “Plaintiffs,

Plaintiffs’ employees and Plaintiffs’ witnesses.” lt also failed to differentiate between: (a)

 

1 lt is true that on account of pressures placed on their relationship by the termination of their mutual
employments at Net Enforcers, lnc., Mr. Loomis and Ms. Snyder had a fight and they sought and
obtained mutual restraining orders against each other. With time, the rift healed and after Ms. Snyder
reached out to Mr. Loomis, the two have reestablished their prior existing close personal friendship

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FAX 703.273.8897

11325 Random Hi'lls Road, Suite ZOO, Fairfax, Virginia 22030
TEL 703.273.8898

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contact concerning, for example, the return of personal property or contact occurring at family
gatherings (Plaintiffs’ argument necessarily implies that Mr. Loomis could not contact his own
brother or sister, both of whom appear on Plaintiffs’ witness list, in any way even at Christmas)
versus (b) “no contact” meaning only no discussions about this case. Even if there were persons
for whom a blanket “no contact” order had been appropriate, there was no such showing and no
specific findings l\/ls. Snyder and Mr. Leberer were simply swept up in' the No Contact Order
without their consent, or even knowledge, of such order.

Furthermore, at the time the*Couit issued the No Contact Order on October 30, 2009,
neither Ms. Snyder nor Mr. Leberer was Plaintiffs or Plaintiffs’ “employees.” Thus, even

assuming specific findings they could only be potentially covered by the No Contact Order as

, “Plaintiffs’ witnesses.” However, as of October 30, 2009 there was no Plaintiffs’ “witness list”

or other document in existence naming specific individuals who should not be contacted The
No Contact Order, therefore, referred to an empty set when it referred to “Plaintiffs witnesses.”

l\/laking matters even more confusing, when witness lists were ultimately filed by the
Parties in December 2009, Ms. Snyder and l\/fr. Leberer were identified as witnesses for bothl
sides; thus begging the question of whether l\/lr. Loomis was barred from talking to his own
witnesses or just from persons who were listed exclusively by Plaintiffs

Before proceeding further with the discussion that has led to this brief, the Court should

. be made aware of the identities of the persons who are involved other than Mr. Loomis

l. Sheilah Snyder
l\/ls Snyder is approximately 23 years old and has known Mr. Loomis for 7 years Upon
information and belief, she formerly dated Mr. Leberer, who is roughly her contemporary in

terms of age. Notwithstanding a major argument that occurred between Ms. Snyder and l\/lr.

 

FA)< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virg’inia 22030
TEL 703.273.8898

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Loomis in or about January 2009, and which led to mutual protective orders being granted in a
matter that is totally unrelated to this case, the two of them were previously and are now close
friends Snyder Dec., 1l3; Exh. G, Declaration of Joseph Loomis, ‘ll3 (“Loomis Dec.”), At some
point in January 2010, l\/ls. Snyder reached out to Mr. Loomis about personal matters having
nothing whatsoever to do with the case Snyder Dec., 15; Loomis Dec., 1l4. As a consequence of
his continued loyal and long-term friendship, l\/lr. Loomis entertained the contact and continued
it. See Loomis Dec., 1l4 & 8. At some point, Ms. Snyder asked Mr. Loomis how the case was
going. Mr. Loomis stated that the Plaintiffs had filed a spoliation motion that falsely accused
him of destroying evidence l\/lr. Loomis told her that the Spoliation l\/Iotion was premised upon
a misleading declaration that had been provided to Plaintiffs by l\/lr. Leberer. Snyder Dec., ‘HS;
Loomis Dec., 1l5. l\/ls Snyder, who’was close to both Mr. Loomis and l\/lr. Leberer, essentially
offered to see if she could get l\/lr. Leberer to meet with counsel for l\/lr. Loomis l See Snyder
Dec., 15-6; Loomis Dec., 116-7. Ms. Snyder subsequently reported that Mr. Leberer would be
willing to do so and Matthew Lavelle, a lawyer residing in Phoenix, Arizona, got in touch with
l\/Ir. Matthew Leberer. See Snyder Dec., 115-6; Loomis Dec., 1[7.
Ms. Snyder signed a severance agreement with Plaintiffs that paid her approximately

$6,735.20. However, a quid quo pro was that she had to agree to “cooperate fully and

reasonably with the Company in connection with any future or current pending matter,

_ proceeding, litigation or threatened litigation with respect to which the Employee was involved

or has personal knowledge” lf she did not “cooperate,” she agreed that she could be sued for

damages Snyder Dec., 1]4 & attached agreement

 

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2. Mr. Leberer

Mr. Leberer is approximately 24 years old and is currently applying to medical school.
He worked for NEI under Mr. Loomis as an lnformation Technology specialist See generally,
l\/lr. Loomis’ Opposition to Motion for Sanctions filed February 25, 2011 (Docket No. 248). l\/lr.
Leberer’s original declaration in this case provided most of the basis for Plaintiffs’ claim that l\/Ir.
Loomis had spoliated all of the information on certain computers and hard drives within his
custody or control at the time he was suspended from NEl. Id. More specifically, Mr. Leberer
submitted a Declaration, drafted by~Plaintiffs or their counsel, which made a number of
misleading allegations Id.

l\/lr. Leberer has stated in a sworn declaration that, contrary to his original Declaration
provided to the Court by Plaintiffs, he has no concern about l\/lr. Loomis contacting him, and
there is no reason whatsoever to believe that he is willing to jeopardize his future medical career
by lying for him. See 2d Leberer Dec., 114. Mr. Leberer should have never been part of the No
Contact Order, and the fact that he received a text message and a voicemail from Mr. Loomis
related solely to the return of a ski helmet and some goggles after he had made inquiry aboutl
them isno ground for sanctions

3. Matthew K. LaVelle, Esq.

Mr. l\/latthew K. LaVelle is one of two partners (along with his father) in a l\/lartindale~

. Hubbell AV-rated law firm in the Phoenix, Arizona vicinity. Exh. l, Declaration of l\/latthew K.

LaVelle, 111 (“LaVelle Dec.”). He has nothing to do with HH&Y. LaVelle Dec., 111.
l\/lr. LaVelle’s involvement in this case arose from the prospect that it was going to be
tried in bankruptcy court in Arizona. LaVelle Dec., 112 Mr. LaVelle also currently represents

Loomis Enterprises in a matter pending against a former NEI employee in the Arizona Superior

 

FAX 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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Court. Mr. Leberer and l\/ls. Snyder are potential witnesses in that case LaVelle Dec., 113.
lndeed, the undersigned had reason to believe that Mr. Loomis also wanted l\/lr. LaVelle to enter
an appearance in the bankruptcy court with or without the undersigned if the bankruptcy court
did not lift the stay to return this case back to Virginia. See LaVelle Dec., 1[2. Accordingly, the
undersigned called Mr. LaVelle sometime in Spring or Summer 2010 to make an introduction
and to get a sense of whether l\/lr. LaVelle appeared to be a responsible,'reputable attorney. Mr.
LaVelle gave a strong impression of both competence and integrity, and the undersigned also
obtained a favorable recommendation about Mr. LaVelle and his father from Mr. Gerald Smith
of Lewis & Roca (who Ms. Dickinson’s partner called a “dean of the bankruptcy bar”). The

undersigned felt that such due diligence was critical to the undersigned’s willingness to be

j involved in the case in Arizona. lt was also critical to the undersigned to know that whoever

might do work for Mr. Loomis would not repeat the type of gaffes committed by.HH&Y.

l\/Ir. Loomis wanted Mr. Lavelle to talk to Mr. Leberer because he knew that the
allegations in the Spoliation l\/lotion were unfounded and also because the current complaint
where Loomis Enterprises is the plaintiff was coming to a head and evidence needed to be
collected for possible depositions See LaVelle Dec., 115; Loomis Dec., 117. However, because
Mr. Loomis wished to avoid any opportunity for Plaintiffs to make allegations of misconduct, he

asked Mr. LaVelle to see if l\/Ir. Leberer would be willing to talk to him about his Spoliation

, Declaration. Loomis Dec., 117; see LaVelle Dec., 115. At first, Mr. Leberer expressed to Mr.

LaVelle that he was reluctant to talk because he was under the impression that his severance
agreement forbade him from communicating with anyone other than Plaintiffs about the case.
LaVelle Dec., 116. Being cautious about the situation, Mr. LaVelle told Mr. Leberer that if he

wanted his own counsel before talking, he could have it. LaVelle Dec., 117. Mr. Leberer did not

 

FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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want to be involved in this litigation generally, but he was interested in having his prior
testimony be fairly understood Thus, he ultimately agreed to go over the declaration he gave
Plaintiffs that they used for purposes of supporting the spoliation motion. Among other things,
Mr. Leberer specifically refuted a statement in his declaration that he was intimidated by Mr.
Loomis LaVelle Dec., 117~8.

l\/lr. Leberer was nervous about`getting sued by Mr. Loomis if he tried to correct his prior
declarations LaVelle Dec., 118; Snyder Dec., 116. Solely in an effort to put l\/lr. Leberer at ease,
Mr. LaVelle drafted a Release and indemnification Agreement to give l\/lr. Leberer the comfort
that he could tell the truth without concern of adverse action by Plaintiffs or Mr. Loomis There
was no other purpose for it. LaVelle`Dec., 1[8; see Snyder Dec., 116. At no time did l\/lr. LaVelle
ever suggest that Mr. Leberer did, or did not, have to come to court. LaVelle Dec., 119. lndeed,
l\/ir. LaVelle specifically included the following language in it: j

This Release and Indemnity Agreement is provided so that Mr. Leberer may

provide complete, truthful, and accurate testimony in connection With existing or

future litigation in which Mr. Loomis is or may become involved. Nothing in this

agreement shall be construed in anyway to prevent Mr. Lebererl from providing

truthful information, to any person, at his discretion. [See LaVelle Dec., 119 & Exh.
A.] ` `

The lndemnification Agreement also provides that l\/lr. Loomis will pay any damages or
costs if Plaintiffs sue Mr. Leberer on the basis of any alleged breach of the severance agreement
Id. ln no way whatsoever was l\/lr. LaV_elle intending to influence testimony or encourage
anyone not to show up for Court. The only reason for the indemnification agreement was to
allow Mr. Leberer to speak without fear. LaVelle Dec., 1110; see Snyder Dec., 116. When he did
so, Plaintiffs’ Spoliation Motion was exposed as being based on a misleading foundation lt is
ironic, indeed, that uncovering the truth about a critical matter is now said to be a violation of an

order designed to protect the trial process

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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4. Emil W. Herich, Esq.

l\/lr. Herich is admitted to practice law in all of the United States District Courts in l
California and before the Ninth Circuit Court of Appeal. Exh. J, Declaration of Emil W. Herich,
111 (“Herich Dec.”). With the exception of the proceedings before this Court, he has never been
accused, much less been found to have committed, any ethical violation in his 27 years of
practicing law. Herich Dec., 111. '

l\/lr. `Herich got involved in Mr. Loomis’ bankruptcy case on or about August 3, 2010,
when he filed an ex parte application for employment in the matter entitled In re Joseph C,
Loomis, Debtor, Case No. 2:10-bk-01 85 5 (D. Ariz. Bankr.). The ex parte application sought his

employment with respect to the following matters:

(a) A lawsuit filed by lntersections, lnc. and Net Enforcers, lnc. (“the Virginia
action”); ,

(b) a potential arbitration proceeding against Debtor’s former counsel in this case,
Hunter, Humphrey & Yavitz, PLC, for legal malpractice;

(c) potential avoidance/preference litigation against Debtor’s former counsel in
this case, Dunlap, Grubb & Weaver, PLLC; and

(d) litigation to determine the enforceability/dischargeability of certain
contractual noncompetition provisions and covenants not to compete [Herich

Dec., 112 & Exh. A]

The first matter listed above is literally this case. This is because it was unknown

whether, as of August 3, 2010, this case would be deemed settled, litigated to judgment in

' Virginia or litigated to judgment in Arizona. The other matters all involved this case as well and

in particular the matter against HH&Y. A leading feature to the claim against HH&Y is the
conduct and advice given to l\/lr. Loomis in connection with the threat by HH&Y to have counsel
arrested if they did not return l\/lr. Loomis’ computer, a matter that continues to plague l\/lr.

Loomis’ credibility. Herich Dec.,113.

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ln short, all of the assignments for which l\/lr. Herich’s employment was approved
substantially overlap with matters related to this action. On or about August 10, 201'0, Mr.-
Herich’s ex parte application to be employed was approved by the bankruptcy court. Herich
Dec., 114 & Exh. B. On or about August 6, 2010, l\/lr. Herich submitted an Application in this
Court to Qualify As A Foreign Attorney Under Local Civil Rule~83.1(D) and Local Criminal
Rule 5 7.4. l\/lr. Herich submitted this application because it was related to his employment for
l\/Ir. Loomis in the bankruptcy court. See Herich Dec., 115 & Exh. C. Specifically, Plaintiffs had
previously obtained relief from the stay of bankruptcy to attempt to enforce a settlement of the
Virginia action, and the motion to enforce the settlement clearly had implications with respect to
the bankruptcy action in which he was and is currently employed as counsel for Mr. Loomis,
including the fact that Plaintiffs had filed a proof of claim based on the settlement in the
bankruptcy case Herich Dec., 115. l

On or about August 20, 2010, Plaintiffs made a motion to disqualify Mr. Herich as
counsel for Mr. Loomis in this action. Specifically, the notice of motion sought entry of an order
“disqualifying Emil W. Herich and Keats l\/lcFarland & Wilson, LLP (“KMW”) from appearing
as counsel on behalf of Defendant Joseph C. Loomis.” Herich Dec., 116 & Exh. E. The ground
for the motion was that the firm that Mr. Herich is “of counsel” to had allegedly previously

represented Plaintiff Net Enforcers, lnc. (“NEI”) in a matter “substantially similar” to the matter

. before this Court. No contention was ever made that l\/lr. Herich had ever personally represented

Plaintiff NEI and, in fact, he has never represented that entity. Herich Dec., 116.
Mr. Loomis submitted an opposition to the motion to disqualify complete with
declarations attesting to the fact that neither KMW nor Mr. Herich had ever represented Plaintiff

NEI on any matter in any way related to the action before this Court. Nevertheless, Judge

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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Buchanan heard the motion and on September 3, 2010 issued an order (the “Herich Order”)
stating:
For reasons stated from the bench, it is hereby ORDERED that
plaintiffs l\/lotion to Disqualify Emil W. Herich and Keats

l\/lcFarland & Wilson, LLP from Appearing as Counsel on behalf
of defendant Joseph C. Loomis is GRANTED.

The Clerk shall strike Mr, Herich and Keats l\/lcFarland & Wilson
as counsel of record2 ’

[Herich Dec., 117, Exh. F]

Mr. Herich’s understanding of the Herich Order at the time it was issued was, and still is,
that he was barred “from appearing as Counsel on behalf of Joseph C. Loomis” in this Court to
the same extent as he would have been barred had he never submitted a pro hac vice application.
Herich Dec., 118. Mr. Herich did not understand then, nor does he understand now, that the order
prevented him from providing any legal services to Mr. Loomis relevant to the issues in the
bankruptcy court, particularly insofar as those issues overlap with those present in this case The
disqualification order also did not purport to bar him from appearing in the bankruptcy court, or
from providing legal services to Mr. Loomis to the extent those services were related to his
employment in the bankruptcy case Herich Dec., 118.

Mr. Herich’s views were also influenced by proceedings in the bankruptcy court itself

On or about August 17, 2010, Plaintiffs herein moved the bankruptcy court to reconsider its

d order authorizing his employment on the same grounds urged before this Court when they sought

l\/lr. Herich’s disqualification l\/lr. Herich filed an opposition on the same grounds as those
which were filed on his behalf in this Court. On September 3, 2010, Plaintiffs filed supplemental

papers advising the bankruptcy court of the disqualification order issued by this Court. Herich

 

2 Although the order purports to strike Kl\/IW’s appearance, KMW had never been counsel of record for
Defendant Joseph C. Loomis in this case. Herich Dec., 117 n.l.

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11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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Dec., 119. On September 16, 2010, after a full-blown evidentiary hearing, the bankruptcy court
denied Plaintiffs’ motion to reconsider the August 10, 2010 order authorizing l\/lr. Herich’s,
employment as counsel for l\/lr. Loomis in the aforesaid matters See Herich Dec., 119 & Exh. G.
On or about September 21, 2010, Joseph C. Loomis filed his Defendant’s Objections to
l\_/lagistrate Judge’s Decision on Nondispositive Matter and Request for Reconsideration By
District Court of l\/lagistrate Judge’s Ruling [FRCP 72a] with this Courf. See Docket No. 195.
On or about October 1, 2010, l\/lr. Loomis caused a motion for reconsideration of Judge
Buchanan’s disqualification order to be filed with this Court, and it was referred to Judge
Brinkema as well. See Docket No. 201. On or about October 29, 2010, the ijections to Judge
Buchanan°s disqualification order came before Judge Brinkema. After denying Plaintiffs’
motion to enforce the purported settlement, the Court determined that the other two pending
proceedings including the objections to the disqualification order, were “moot” because the stay
of bankruptcy still applied to the case Herich Dec., 1110 & Exh. H (November 3, 2010 Order).
At that point, there were two rulings related to Mr. Herich’s work for l\/lr. Loomis ln
Virginia, Judge Buchanan had ordered that he could not “appear” in this action, and Judge
Brinkema found that this ruling was “moot” for as long as the stay was in place ln Arizona,
meanwhile, the bankrtupcy court refused to rescind Mr. Herich’s employment even though it

knew about his disqualification in this Court and even though the subject matter of the cases was

. substantially similar. The bankruptcy court took a different view of the issues related to imputed

conflicts Herich Dec., 1111.
Mr. Herich felt that he was entirely within his rights, and within the spirit of the two
disparate rulings to work for Mr. Loomis on matters related to the subject matter of the

bankruptcy cases (and potential cases) for which his employment had been approved, challenged

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FAX 703.273.8897

11325 Randoni Hills Road, Suite 200, Fairfa_x, Virginia 22030
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and reapproved. Herich Dec., 1112. This understanding, and therefore the good faith basis for it,
has been confirmed by one of the leading legal ethics experts iri America, Geoffrey Hazard See
Exh. H, letter opinions and CV of Geoffrey Hazard. However, as noted, the undersigned took
the position that he would not serve as a conduit or mere local counsel notwithstanding the
conflicting rulings

On or about November 8, 2010, Plaintiffs filed an amended proof of claim for
$l4,000,000 in the Arizona bankruptcy case based on the exact same allegations made in this
case Herich Dec., 1112 & Exh. l. l\/lr. Herich caused an adversary proceeding to be commenced
in the- bankruptcy action seeking to disallow Plaintiffs’ claim against Mr. Loomis, and he also
filed a counterclaim seeking to have their claim against Mr. Loomis equitably subordinated to
those of other creditors on account of their bad faith tactics in this action including those related
to the declaration they obtained from Mr. Leberer. l\/lr. Herich also prepared a motion for
summary judgment that will be heard on l\/larch 22, 2010 on the ground that the Amended Proof
of Claim was not timely filed Herich Dec., 1112. l\/lr. Loomis has also contemplated, and intends
to commence an action in the bankruptcy court against Mr. Loomis’ former counsel, HH&Y`, for
legal malpractice Herich Dec., 1112.

Mr. Herich also caused a separate adversary proceeding to be commenced against

Plaintiffs in the bankruptcy court that sought a declaratory judgment that Mr. Loomis was not

. bound by certain covenants not to compete contained in the agreements that form the basis for

the action in this Court (the “Restrictive Covenant Case”). Herich Dec., 1113. A motion for

summary judgment in the Restrictive Covenant Case was heard by the bankruptcy court and

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FAX 703.273.8897

11325 Randoni Hills Road, Suite 200, Fairf`ax, Virginia 22030
TEL 703.273.8898

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granted on January 18, 2011 over Plaintiffs’ objections that Mr. Herich had been disqualified in
the Virginia action. Herich Decl., 1113 & Exhs. J-K.3 j

As part of Mr. Herich’s work on the above-referenced matters, he has felt duty-bound to
investigate the potential claims of Mr. Loomis prior to filing them in the bankruptcy court and to
assist Mr. Loomis to mitigate any damages that he can reasonably avoid Herich Dec., 1114. At
the time of the conduct complained of herein, there was substantial reason to believe that this
litigation would remain in Arizona and be litigated there, including but not limited to the
Spoliation Motion. Herich Dec., 1114. ln this regard, Plaintiffs herein had filed a motion for
relief from stay; Mr. Loomis had opposed the motion; and the matter had not been ruled upon by
the bankruptcy court. Accordingly, Mr. Herich felt that it was necessary and appropriate for him
to interview and communicate with'certain witnesses in this case, such as Ms. Snyder and Mr.
Leberer, and he has always done so in what he believes is an appropriate professional and
nonthreatening manner. Herich Dec., 1114.

In this regard, Plaintiffs’ counsel contends that Mr. Herich has engaged in “misconduct”
by “representing” Mr. Loomis in the Virginia case as a result of the fact that he met with Mr.'
Leberer on November 12, 2010 (after Plaintiffs had filed a $14,000,000 proof of claim in the
bankruptcy case based on the exact same claims that form the basis of this action). Herich Dec.,

1115. Based on what he understood from l\/lr. LaVelle, Mr. Herich anticipated that he would be

. able to shed light on what he believed had been a misleading declaration given by Mr. Leberer in

connection with the original Spoliation Motion. He also believed that Mr. Leberer could be a

 

3 During the course of the Restrictive Covenant Case, Plaintiffs insisted that the Stock Purchase
Agreement, which is at the core of their case for rescission, was fully valid and that Mr. Loomis was still
bound by its terms The bankruptcy court found that the agreements were valid, but held that the
restrictive covenants were no longer valid as a result of changed circumstances Thus, Plaintiffs have
clearly elected, in a United States federal couit, to affirm the Stock Purchase Agreement See Docket No.
248, Mr. Loomis’ Opposition to Motion for Sanctions, pp. 26-27.

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
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witness in several of the pending or contemplated proceedings that Mr. Herich was handling for
Mr. Loomis in Arizona. Herich Dec., 1115.

l\/lr. Herich met l\/lr. Leberer first at a restaurant in Phoenix, Arizona. Herich Dec., 1116;
Snyder Dec., 117. Contrary to Plaintiffs’ allegations, Mr. Herich was not trying to “ambush” l\/lr.
Leberer. He was simply in town in connection with the bankruptcy case and took the
opportunity to interview Ms. Snyder, who told l\/lr. Herich that if he dro'pped by the restaurant
she would introduce him to l\/lr. Leberer. Mr. Herich chatted with Ms. Snyder and Mr. Leberer
for approximately five minutes. Mr Herich asked Mr. Leberer if he could contact him again to
discuss potentially obtaining declarations from him. Mr. Leberer said that he was agreeable to
l\/lr. Herich contacting him. Herich Dec., 1116; Snyder Dec., 11117-9.

l\/Ir. Leberer later agreed to meet Mr. Herich at Ms. Snyder’s Phoenix, Arizona residence
Prior to the meeting, l\/lr. Herich sent Mr. Leberer an email attaching a proposed declaration
stating “l have modified the protective order [declaration] to take out the language you were '
uncomfortable with and it is attached”. l\/Ir. Herich also told Mr. Leberer that he would bring a
draft declaration concerning his prior declaration and that he would make any changes to thel
draft that Mr. Leberer wished to be made Herich Decl. 1117.

Mr. Herich did in fact meet with Mr. Leberer in Phoenix, Arizona on November 12,

2010. Herich Dec., 1118. l\/Is Snyder was also present for the entire meeting Herich Dec., 1118;

, see also Snyder Dec., 119. After discussing the matter with him, l\/Ir. Leberer voluntarily agreed

to provide Mr. Herich with a declaration that Mr. Leberer spent hours reviewing and revising
Which refuted the ambiguous declaration that Plaintiffs’ counsel had obtained from him for the
purpose of supporting their Spoliation l\/lotion. Herich Dec., 1118; Snyder Dec., 119. During the

meeting, Mr. Leberer asked what would happen if he did not provide a declarationl l\/lr. Herich

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FAX 703.273.3897

11325 Randoni Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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truthfully told him that he would attempt to subpoena him for a deposition Later, after the
declaration had been signed, Mr. Leberer offered to drive l\/lr. Herich to the airport so that he
could return to his home in Los Angeles. Mr. Leberer expressed concern that Plaintiffs’ counsel,
Michelle Dickenson, would be upset once she learned of the declaration l\/lr. Leberer also
expressed concern about speaking to her and asked Mr. Herich if he was required to speak to her
on the phone Herich Dec., 1118; Snyder Dec., 11119-10. Mr. Herich said that Mr. Leberer did not
have to talk to anyone if he chose not to do so. Mr. Leberer then asked what would happen if he
got sued by Plaintiffs on account of his agreeing to provide a declaration and l\/Ir. Herich pointed
out that Mr. Loomis had promised to indemnify him. Herich Dec., 1118; Snyder Dec., 1110.

As noted above, at the time that Mr. Herich met with Mr. Leberer, relief from stay had
not been granted by the Arizona bankruptcy court and Mr. Herich had a good faith reason to
believe that he would be involved in the defense of that claim in Arizona. His interview of l\/lr.
Leberer was also relevant to his investigation of the potential malpractice claims and equitable
subordination claims which involve issues connected with the Spoliation l\/lotion that Plaintiffs
filed against l\/lr. Loomis in this case Mr. Herich also believes that this work was relevant to l\/lr.
Loomis’ duty to reduce or mitigate damages by preventing a Spoliation Motion from being
granted against him. Herich Dec., 1119. l\/lr. Herich at no time attempted coerce Mr. Leberer and

Mr. Leberer does not ever state that he was coerced or that Mr. Herich discouraged him from

_ testifying Herich Dec., 1119. The evidence is that Mr. Leberer asked Mr. Herich questions and

Mr. Herich attempted to answer them in honest and forthright manner. See Herich Dec., 1119.

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FA>< 703.273.8897

11325 Randorn Hills Road, Suite ZOO, Fairfax, Virginia 22030
TEL 703.273.8898

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C. ARGUMENT

l. Standard of Review.

Plaintiffs seek the “ultimate sanction,” i. e., a directed verdict and “the,full amount of
damages sought by Plaintiffs.” Pl. l\/lem. at p. 1. Presumably this means the $l4,000,000 that
Plaintiffs seek in their count for rescission

The United States Supreme Court and the United States Court of Appeals for the Fourth
Circuit have both cautioned that trial courts should only exercise their inherent powers with the
greatest caution, particularly where`a court has been asked to remove a case from the adversarial
process Chaml)ers v. NASCO, Inc., 501 U.S. 32, 44 (1991) (“inherent powers must be exercised
with restraint and discretion”); see also Roaa’way Exp., [nc. v. Piper, 447 U.S. 752, 764 (1980)
(“Because inherent powers are shielded from direct democratic controls, they must be exercised
with restraint and discretion.”); United States v. Sha]jfer Equip. Co., 11 F.3d 450,- 462 (4th Cir.
1993) (cautioning that lesser sanctions must be considered to redress any violations).

2. T he No Contact Order Cannot Be The Predicate For Sanctions Because It Is Not

Enforceahle Generally; Nor ]s lt Enforceahle With Respect To Ms. Snyder Or Mr.
Leberer. '

No sanctions can be awarded on the basis of the No Contact Order unless it is
enforceable ln this regard, there can be no question that the No Contact Order is a restraining

order because it expressly seeks to restrain Mr. Loomis’ ability to associate with three categories

. of persons and entities As such, it must comply with the strictures of F ed R. Civ. Pr. 65(d).

Under Fed. R. Civ. Pr. 65 (d), and to be enforceable the restraining order had to:

(A) state the reasons why it was issued;
(B) state its terms specifically; and

(C) describe in reasonable detail ~ and not by referring to the
complaint or other document - the act or acts restrained or
required

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FA>< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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Fed. R. Civ. Pr. 65(d).

The Fourth Circuit mandates strict compliance with these provisions when a court y
attempts to fashion a restraining order, such as the one in this case, and has interpreted Rule
65(d) to require a court to set forth its findings of fact and conclusions of law. See Alberti v.
Cruise, 383 F.2d 268, 271-72 (4th Cir. 1967) (holding that the Rule’s “terms are mandatory and
must be observed in every instance”); CPC Int’l, Inc. v. Skippy Inc., 214 F.3d 456, 460-61 (4th
Cir. 2000) (discussing the lack of findings of fact and conclusions of law in a district court’s
order). Most importantly, the Fourth Circuit has also affirmed that: “[l]oose injunctive orders
are neither easily obeyed nor strictly enforceable, and are apt to be oppressive.” All)erti, 383
F.2d at 271 (quoting 7 l\/loore’s F ederal Practice, 11 65.11, p.1666). A restraining order must
therefore “be narrowly tailored and»should prohibit only unlawful conduct, ” CPC Int ’l, Inc., 214
F.3d at 460-61, “‘to prevent uncertainty and confusion on the part of those faced with injunctive
orders, and to avoid the possible founding of contempt citation on a decree too vague to be
understood,”’ id. at 459 (quoting Schmidt v. Lessard, 414 U.S. 473, 476 (1974)).

ln this case, there were allegations of witness harassment by Plaintiffs’ counsel, and the
event which pushed matters over the brink was the threat by HH&Y to have Ms. Dickinson
arrested if she went to Arizona for depositions an incident to this day Mr. Loomis plans to

rectify in the Arizona bankruptcy court with an adversary complaint for malpractice This is

l clear from the motion for protective order and the accompanying memorandum filed October 23,

2009, and from the hearing transcript on that motion dated October 30, 2009. Plaintiffs never
tendered a list of persons who contended that they needed protection, and did not tender any
particularized facts that would support a court in enjoining Mr. Loomis from associating or
contacting anyone who counsel proffered, on a category by category basis, to be in fear. The

problem with the non-particularized approach to the restraining order was that it not only

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Pairfax, Virginia 22030
TEL 703.273.8898

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infringed on l\/lr. Loomis’ First Amendment rights to association, but also upon the rights of
association possessed by Ms. Snyder and Mr. Leberer.
ln short, there were no findings of fact, no conclusions of law, no balancing tests and no
narrow tailoring of relief. Even if there had been, there was no “Plaintiffs’ witness list” even in
existence as of October 30, 2009, and Plaintiffs could have, but did not, list persons who were
the intended class of persons subject to the No Contact Order. When the Parties later did list
witnesses, many of the persons listed were witnesses for Plaintiffs and Mr. Loomis
As a result, the “No Contact” order was clearly unenforceable because it was wholly non-
compliant with'Fed. R. Civ. Pr. 65 and the cases related thereto. The No Contact Order, for
example, swept up some of Mr. Loomis’ immediate family members, his co-defendant sister, his
CPA, his brother and partner of Loomis Enterprises, Chris Loomis, his former girlfriend and
current close friend l\/ls. Snyder and his friend Mr. Leberer. lt also did not limit itself to
communication about this case, but as to all matters generally (including core First Amendment
speech like political speech, discussions about holidays, birthdays and the like). This is clearly
an unenforceable order as a matter of law.
.Because the No Contact Order is not enforceable, it cannot serve as the basis for
sanctions in this case.
3. A Valid Protective Order Coula1 Not Have ]ssued F or Ms. Snyder Ur Mr. Leberer
Plaintiffs did not, on October 23`, 2009 or any time thereafter (including now), submit any
evidence to support a restraint on l\/lr. Loomis’ right to contact Ms. Snyder or l\/lr. Leberer.
While l\/lr. Leberer’s October 29, 2009 Declaration states that Mr. Loomis is “physically and
emotionally threatening,” Mr. LaVelle says that Mr. Leberer specifically refuted that when they

met, and Mr. Leberer has specifically rejected any notion that he has ever feared Mr. Loomis in a

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FA)< 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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sworn declaration on file with this Court. See LeVelle Dec., 118. Similarly, while l\/lr. Loomis
and Ms. Snyder obtained protective orders against one another in or about January 2009, that
predated the litigation and the motion for protective order by almost a year. Ms. Snyder
obviously does not presently fear l\/lr. Loomis and there was no evidence she did on October 30,
2009. See Snyder Dec., 115.
4. No Attorneys Other Than HH&Y Were Subject To the No Contact Order
While the No Contact Order enjoins Mr. Loomis and his “counsel,” the motion seeking
the protective order was directed solely at l\/lr. Loomis and HH&Y. Plaintiffs have
acknowledged as much. See l\/lotion for Sanctions, Docket No. 235, p. 3 n.l. Thus, the only
issues as to counsel relate to the lndemnification Agreement
5. The lndemnification Agreement Was Not In/tproper
Plaintiffs’ actual claims involving counsel appear to revolve around the concept that Mr.
Herich somehow used the lndemnification Agreement to attempt to cause l\/ls. Snyder and Mr.
Leberer to not come to trial. There is no evidence to support this, and the “tampering”
allegations are both defamatory as to Mr. Herich and not true ln this regard, Plaintiffs’ own'
declarations fully acknowledge that Ms. Snyder fully intends to come to Virginia and testify at
the trial of this case See Roth Dec., 112. l\/lr. Leberer’s continued cooperation with Plaintiffs is
also evident as demonstrated by the February 16, 2011, declaration he provided to Plaintiffs
Mr. LaVelle has explained that the lndemnification Agreement was drafted to provide
l\/ls Snyder and l\/lr. Leberer with comfort that they could testify without fear of retribution by
either Mr. Loomis or Plaintiffs See LaVelle Dec., 1110. On the one hand, both l\/ls. Snyder and
l\/lr. Leberer had severance agreements that bound them to “cooperate” in litigation involving

Plaintiffs, and which held open the possibility of a lawsuit to recover the severance payments if

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r=A)< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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they did not “cooperate.” l\/Ir. Leberer, at least, was concerned that he could not correct what he
admitted were ambiguities in his prior Declaration used to support Plaintiffs’ spoliation based on
his severance agreement. LaVelle Dec., 118; see Leberer Dec., 113. The concept of the
indemnification Agreement was simply to level the playing field There is no evidence that l\/lr.
LaVelle did anything that any counsel in his position would not have done; indeed, he even told
Mr. Leberer he did not have to speak with him and offered him the chance to get his own
attorney. l\/lr. LaVelle says that he had no intention to influence testimony, and that he included
the bold-faced language in the lndemnification Agreement cited above to make this clear. See
LaVelle Dec., 119.

There is, therefore, nothing inherently wrong with the lndemnification Agreements.
lndeed, Professor Hazard has reviewed the situation and has opined that there is nothing
inherently problematic about the use of an indemnification agreement in these circumstances
See Exh. H, three letter opinions and CV of Geoffrey Hazard.

Plaintiffs recognize this, but suggest that Mr. Herich “attempted to use the indemnity
Agreements to convince Mr. Leberer to disappear from this case and not testify on behalf of '
Plaintiffs.” Pl. l\/lem. at p. 6. This is simply not true, nor is the attempt to paint l\/lr. Herich as
someone who was using sharp practices to cajole l\/lr. Leberer into doing something he did not

want to do. Each argument made by Plaintiffs (and “argument” is all it is, because it is not fact)

. may be refuted as follows:

Allegation.' That Mr. Herich attempted to get Mr. Leberer to “disappear”froin the case.
As discussed in the lntroductory Statement, Mr. Loomis hopes that Plaintiffs will ask l\/lr.
Leberer to appear for trial and that he will agree to do so. lf Plaintiffs cannot secure his presence

in Virginia voluntarily, l\/lr. Loomis hereby consents to an order permitting the parties to notice

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FAX 703.273.8897

11325 Randorn Hills Road, Suife 200, Fairfax, Virginia 22030
TEL 703.273.8898

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his deposition in Arizona at a mutually convenient time for use as evidence in this case ln short,
there is no way that l\/lr. Leberer’s testimony will not be obtained one way or another.
Furthermore, the Court should take a step back from the allegations and consider this: when Mr.
Herich met with Ms. Snyder and Mr. Leberer, there was just as much reason to believe that this
case would stay in Arizona as there was reason to believe it would come back to Virginia. If the
former, Ms. Snyder and l\/lr. Leberer would have been subject to the subpoena power of the
bankruptcy-court lt is completely disingenuous to argue that, under these circumstances l\/lr.
Herich really believed that he could cause these witnesses to “disappear.” Moreover still, as
noted above Plaintiffs acknowledge that l\/ls. Snyder has stated that she intends to testify at trial.
As to Mr. Leberer, he nowhere in his declaration states that Mr. Herich tried to induce him to
“disappear” and not testify at trial. 'He only states that l\/lr. Herich told him he did not have to
speak to Plaintiffs’ counsel. Mr. Herich has explained that this statement is even more
defensible because it was made only in response to l\/lr. Leberer’s prior statement that he did not
want to do so.
Allegation.' T hat Mr. Herich participated in an “aml)ush ” oer. Leberer. Mr. Herich

had spoken with l\/ls. Snyder as part of his investigation into the facts and circumstances of this
case in connection with his actual and reasonably foreseeable work in the bankruptcy court. ln

the course of talking to Ms. Snyder, she indicated that she would arrange a meeting with l\/lr.

. Leberer so that Mr. Herich could introduce himself. Accordingly, Mr. Herich met Ms. Snyder

and l\/lr. Leberer at a restaurant on an occasion when Mr. Herich was in Phoenix, Arizona. Mr.
Herich did not understand the meeting to have been an “ambush.” Their interaction lasted
approximately five minutes See Herich Dec., 1116. During the course of that interaction, Mr.

Leberer categorically denied being intimidated by l\/ir. Loomis and agreed that Mr. Herich could

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FAX 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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contact him to discuss providing a declaration that would clarify certain statements made in his
October 29, 2009 declaration submitted in support of the Plaintiffs’ motion for sanctions When
Mr. Herich did contact him, Mr. Leberer did in fact agree to meet and expressed no objections
whatsoever to being contacted Herich Dec., 1116.

Allegation.' That Mr. Herich Told Mr. Leberer He Did Not Need To Talk To Plainti]jfs’
Counsel Because He Had Signed T he Indemnity Agreement Mr. Leberer voluntarily agreed to
meet with Mr. Herich to go over the contents of his October 29, 2009 declaration Again, it
needs to be remembered that at the time of their meeting (November 5, 2010), the case was
pending in the Arizona court, not this Court, and there was reason to believe it would stay there
Accordingly, both Ms. Snyder and l\/lr. Leberer would be subject to the subpoena power of the
Arizona Court. Therefore, these witnesses would never “disappear.” Furthermore, l\/lr. Herich
simply told l\/lr. Leberer the truth that any attorney would have to say if asked about whether an
independent party “has” to talk to any lawyer: it is up to the witness Similarly, when l\/lr.
Leberer expressed concern about being sued for providing a declaration to Defendant’s counsel,
l\/lr. Herich truthfully pointed out that l\/lr. Loomis had agreed to indemnify him. See Herich l
Dec., 1118. Truthfully answering a question is not grounds for allegations of misconduct

Allegation.' That Mr. Leberer spent five or six hours working on clarifications of his

October 29, 2009 declaration This is true, but it is a testament to two facts First, Mr. Leberer

. would undoubtedly say that he is trying'his best to make sure he is no longer misquoted or

misconstrued Second, the allegation that Mr. Herich told him he would have to clarify his
declaration to avoid being accused of lying if he did testify shows that l\/Ir. Herich believed and

hoped he would testify. The fact that Mr. Herich said that he might “have to testify” is additional

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FAX 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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proof that l\/lr. Herich did not seek to discourage testimony, and the fact that l\/lr. Leberer took
this seriously shows that he understands he might have to testify. l

Beyond the fact that l\/lr. Loomis has never sought to have l\/lr. Leberer not appear for
trial, the idea that Mr. Herich would tamper with a neutral if not potentially hostile witness,
thereby putting his 27-year unblemished reputation on the line, is not credible l\/lr. Herich
denies any untoward conduct categorically Herich Dec., 1119. ln sum, l\/lr. Herich’s interviews
of l\/ls Snyder and l\/lr. Leberer were well within the scope of his counsel duties in the
bankruptcy court. He acted as counsel, and his intercession between l\/lr. Loomis and these
witnesses is proof that l\/Ir. Loomis is not running wild vis-a-yis the merits of this case as
Plaintiffs would have the Court believe

6 Assuming The Validity OfThe No Contact Order Mr. Loomis Did Not Have
Widespread Contact With Potential Witnesses

The allegations related to Mr. Loomis and his conduct with respect to the No Contact
Order boil down to his admitted contacts with Sheilah Snyder, a close friend (indeed, former
girlfriend). She contacted him; he continued the contact. Yet l\/lr, Loomis did not run around
contacting persons related to this case indiscriminately. lndeed, the very fact he had Mr. Lavelle
contact'l\/lr. Leberer is proof of this l\/lr. Loomis should not be punished given the nature of his
prior relationship with Ms. Snyder, his clear efforts to otherwise avoid controversy and the issues

with the No Contact Order itself.

D. SUMMARY

1. “No Contact” and Mr. Leberer The interesting subplot to l\/lr. Leberer is the fact that
attorneys (LaVelle and Herich) were the ones who dealt with him. Indeed, even though the No
Contact Order is not enforceable, the mere fact that Mr. Loomis elected to have lawyers meet

with l\/lr. Leberer is proof that he was not looking for trouble or running amok. That Plaintiffs

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FAX 703.273.8897

113 25 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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are seriously arguing that a text message and a voicemail about ski clothes merits a default
judgment is unbelievable The bottom line is that l\/lr. Loomis’ attorneys had a right to contact
Mr. Leberer, and there were no contacts between l\/lr. Loomis and l\/lr. Leberer that merit
sanctions

Moreover, Plaintiffs have not shown any prejudice l\/lr. Leberer’s careful attempts to
clarify his declaration show that he cares about being accurate, and there is no reason to believe
that he will-not either come to trial or otherwise sit for a trial deposition Similarly, his continued
cooperation evidenced by his February 16, 2011, declaration further demonstrates a lack of
prejudice and/or any validity of Plaintiffs’ assertions

2. Ms. Snyder. Mr. Loomis and Ms. Snyder had some contact as a result of their
personal history. However, sanctions cannot be issued on the basis of the contact because the No
Contact Order is not enforceable Even if the No Contact Order had been supported by a then-
existing need to include Ms. Snyder within its scope, it was not narrowly tailored to provide that
Mr. Loomis could have contact with her but not discuss the case

ln any event, there is no evidence that could possibly lead this Court to find that l\/ls l
Snyder is willing to suddenly lie for l\/lr. Loomis as a result of the contact, or that she will not
agree to come to Virginia or to sit for a trial deposition ln fact, Plaintiffs acknowledge that she

is going to testify at trial. Thus, there is no prejudice The fact that Plaintiffs now think Ms.

. Snyder is not prepared to support their meritless allegations is hardly grounds for sanctions

against Mr. Loomis
While the undersigned wishes that Mr. Loomis had not contacted Ms. Snyder precisely

because of the present situation, she is the singular example of any alleged contacts by Mr.

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FAX 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairf`ax, Virginia 22030
TEL 703.273.8898

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Loomis other than the “ski clothes” text message and voicemail. Mr. Loomis and l\/ls Snyder
are close friends, and they have a First Amendment right to associate
3. The lndemnification Agreement Plaintiffs have termination agreements with l\/ls.

Snyder and Mr. Leberer that require these two individuals to repay their severance if they do not
‘fcooperate” with Plaintiffs As a consequence of the severance agreement, Mr. Leberer was
intimated to even talk to an attorney like Mr. LaVelle who, it is clear, has had almost nothing to
do with this case. The lndemnification Agreements merely sought to level the playing field by
allowing l\/Is. Snyder and Mr. Leberer to speak fully and freely. The fact that l\/lr. Leberer took
5-6 hours to carefully clarify his Declaration is proof positive that the lndemnification
Agreement had a salutary effect. ln a vacuum, there appears to be little wrong with that.
However, this is not a vacuum and Plaintiffs’ have argued that somehow the lndemnification
Agreements were calculated to make Ms. Snyder and l\/lr. Leberer “disappear” as witnesses
This is meritless once the Court recognizes that the case could have easily stayed in Arizona
where either l\/ls Snyder or l\/lr. Leberer could have been subpoenaed They may still come to
Virginia, or they can be deposed for a trial deposition All of these remained possibilities at all
times Plaintiffs are merely seeking to short-circuit the trial process

4. Mr. Herich l\/lr. Herich has been much maligned in this matter. However, two points

can be made up front. First, l\/lr. Herich is approved counsel in what amounts to a mirror image

, case in Arizona and a number of related satellite actions Plaintiffs do not like that, but they lost

their disqualification motion in Arizona because the Court reached a different result. Professor
Hazard agrees that nothing precluded Mr. Herich from acting as counsel in the bankruptcy case
and thus any duties that an attorney would normally perform for his client in such a case were

appropriate However, because the undersigned values his reputation in this Court with a

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FAX 703.273.8897

11325 Randorn Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

Cameron l McEvQy

 

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passion, he chose a conservative course and told Mr. Herich that had no interest in being a
conduit or virtual attorney. Mr. Herich has respected that decision and the undersigned believes
him to be someone who has, repeatedly, expressed concern for doing what is proper and right.
Not one time has Mr. Herich caused the undersigned to believe that he is other than an attorney
who cares deeply about our profession and about the ethical practice of law.

Mr. Herich’s zeal in obtaining Declarations that could have been used in Arizona or
Virginia was not part of a pattern of “practice” in this case Mr. Herich otherwise denies all of
the allegations of sharp practices for the reasons set forth above

- 5. T he Presence OfTrial Judge Leonie M Brinkema Renders Claiins OfPrejudice
Particularly Moot.

This case is going to be tried by Judge Leonie l\/l. Brinkema, one of the most fair-minded
and saavy judges known to the undersigned She has been widely praised around the United
States for her deft handling of difficult cases The undersigned has confidence that Judge
Brinkema will deliver such justice as the actual facts of the underlying case require The trial
process should not be short-circuited.

6. No Default Judginent Should Be Entered, But Particularly Not One for Rescission

Plaintiffs have asked for a directed verdict but have not particularized which count(s)
should be subject to the order. While such a default judgment would be totally inappropriate it
is also the case that Plaintiffs’ have waived their right for rescission under the Stock Purchase
Agreement by electing, through their conduct in and out of court, to affirm the underlying
contract. Furthermore, they cannot restore NEl to Mr. Loomis in the condition it was in before
the sale. Thus, this Court cannot award or consider rescission and 814,000,000 in damages l\/lr.
Loomis further adopts his arguments set forth in pages 26-27 his Opposition to l\/lotion for

Sanctions filed February 25, 2011.

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FA)< 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

Cameron l l\/lcEvQy

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WHEREFORE, the foregoing premises considered, Defendant Joseph C. Loomis moves
this Honorable Court for an Order denying the Motion for Sanctions filed herein, and for such

other and further relief as justice may require

Respectfully submitted,

/s/

rim@ihy J. ivicr-:v@y, vsB‘NO. 33277
CAMERON MCEon, PLLC

11325 Random Hills Road, Suite 200
Fairfax, Virginia 22030

(703) 273-8898

(703) 273-8897 (Facsimile)
tmcevoy(a)cameronmcevoy.com

Counsel for Defendant, Joseph C. Loomis

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FAX 703.273.8897

11325 Random Hills Road, Suite 200, Fairfax, Virginia 22030
TEL 703.273.8898

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CERTIFICATE OF SERVICE

l hereby certify that on this lSt day of March, 2011, l have filed a true and correct copy of the
foregoing with the Clerk of Court via the Cl\/l/ECF efiling system which will send notification of
this filing to the following counsel of record:

Tara Lee, Esquire

Ryan C. Berry, Esquire

DLA Piper LLP

1775 Wiehle Avenue, Suite 400
Reston, Virginia 20190
Counsel for Plaintiffs

David Clarke, Esquire
l\/lichelle J. Dickinson, Esquire
Melissa R. Roth, Esquire
DLA ~Piper LLP

6225 Smith Avenue
Baltimore, Maryland 21209
Counsel for Plaintiffs

Eugene Walter Policastri, Esquire
Bromberg Rosenthal LLP

401 North Washington Street, Suite 500
Rockville, Maryland 20850

Counsel for Defendant Jenni Loomis

/s/

Timothy J. l\/lcEvoy, VSB No. 33277
CAMERON MCEon, PLLC

11325 Random Hills Road, Suite 200
Fairfax, Virginia 22030

(703) 273-8898

(703) 273-8897 (Facsimile)
tmcevoy@camei'onmcevoy.com

Counsel for Defendant, Joseph C. Loomis

 

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